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            U.S.A.
aty         Carl D. Neff        Ciardi Ciardi &Astin        919 N. Market Street       Suite 700        Wilmington, DE 19801
            U.S.A.
aty         Edward Cerasia, II        Seyfarth Shaw LLP         620 Eighth Avenue          32nd Floor       New York, NY 10018
aty         J. Kate Stickles       Cole, Schotz, Meisel, Forman &Leonard,         500 Delaware Avenue, Suite
            1410        Wilmington, DE 19801
aty         J. Kate Stickles       Cole, Schotz, Meisel, Forman &Leonard,         500 Delaware Avenue, Suite
            1410        Wilmington, DE 19801
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aty         Jared D. Zajac       McDermott Will &Emery LLP             340 Madison Avenue          New York, NY 10173−0002
aty         John H. Strock, III       Fox Rothschild LLP         919 N. Market St., Suite 1300        P.O Box
            2323        Wilmington, DE 19899−2323
aty         Norman L. Pernick          Cole, Schotz, Meisel, Forman &Leonard,         500 Delaware Avenue,Suite
            1410        Wilmington, DE 19801
aty         Patrick J. Reilley      Cole, Schotz, Meisel, Forman &Leonard,          500 Delaware Avenue, Suite
            1410        Wilmington, DE 19801
aty         Patrick Theodore Garvey          Johnson &Bell, Ltd       33 W. Monroe, Suite 2700          Chicago, IL 60603
aty         Robert S. Brady        Young, Conaway, Stargatt &Taylor          The Brandywine Bldg.          1000 West Street, 17th
            Floor        PO Box 391         Wilmington, DE 19899−0391
aty         Stephen Novack          Novack and Macey LLP           100 North Riverside Plaza       Chicago, IL 312−419−6900
            312−419−6928
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